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 5   Attorney for Defendant CHARLOTTE MILLER
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 8                           UNITED STATES DISTRICT COURT FOR THE

 9                               EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                         CASE NO: 1:14-CR-00103-LJO/SKO
11                  Plaintiff,

12   v.
                                                       STIPULATION AND ORDER
13                                                     CONTINUING DATE FOR HEARING ON
                                                       JUDGMENT AND SENTENCING
14   CHARLOTTE MILLER,
                                                       DATE: OCTOBER 31, 2016
15                  Defendant.                         TIME: 8:30 AM
                                                       COURTROOM: LAWRENCE J. O’NEILL
16

17                                                     DATE: OCTOBER 11, 2016
                                                       TIME: 8:30 AM
18                                                     COURTROOM: LAWRENCE J. O’NEILL
19

20

21          Defendant, CHARLOTTE MILLER is currently set for a Hearing on Judgment and

22   Sentencing on October 11, 2016. It is hereby stipulated by and between the defendant, through

23   her attorney Salvatore Sciandra and the Government by and through its attorney Kathy Servatius

24   that the Hearing on Judgment and Sentencing be continued to October 31, 2016 at the hour of

25   8:30 AM

26          The reason for this request is that the defendant lives in Arkansas and communication

27   between counsel and defendant concerning the completion of the probation interview packet has

28   been over the telephone and has proven to be extremely difficult because of the defendant’s

     PEOPLE v. CHARLOTTE MILLER
     STIPULATION AND [PROPOSED] ORDER CONTINUING DATE FOR JUSGEMENT AND SENTENCING
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 1   limited ability to read and express herself. In order to overcome this problem undersigned

 2   counsel made arrangements with US Probation Officer Ross Micheli to conduct the probation

 3   interview through a conference call to be conducted on the afternoon of August 23, 2016. On the morning

 4   of October 23, counsel contacted the defendant to arrange a time to conduct the probation interview

 5   when counsel detected that the defendant was highly emotional. When counsel questioned             the

 6   defendant as to the cause of her emotional state, the defendant began crying and informed

 7   counsel that her sister was in critical condition and was expected to die at any time. Counsel

 8   communicated this information to US Probation Officer Ross Micheli and it was determined that

 9   because of the impending deadline for a draft of the PSR, a continuance of the hearing on

10   Judgment and Sentencing and all associated deadlines would be necessary in order to give the

11   defendant time to grieve after the passing of her sister and the probation officer time to conduct a

12   telephonic probation interview and prepare his draft report.

13          The schedule proposed by the probation officer and stipulated to by counsel is as follows:

14   Judgment and Sentencing                                        10/31/2016

15   Formal objections filed with the Court                         10/24/2016

16   Final PSR filed on CM/ECF                                      10/17/2016

17   Informal objections provided to Probation and counsel          10/10/2016

18   Draft PSR disclosed to parties                                 09/26/2016

19

20   Dated: August 25, 2016                                 /s/Salvatore Sciandra
                                                            Attorney For Defendant
21                                                          CHARLOTTE MILLER

22

23   Dated: August 25, 2016                                 Philip A. Talbert
                                                            Acting United States Attorney
24
                                                            By: /s/ Kathleen Servatius
25                                                          Approved by email August 24, 2016
                                                            Kathleen Servatius
26                                                          Assistant United States Attorney
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27   ///
     ///
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     PEOPLE v. CHARLOTTE MILLER
     STIPULATION AND [PROPOSED] ORDER CONTINUING DATE FOR JUSGEMENT AND SENTENCING
     CASE NO.: 1:14-CR-00103-LJO-SKO                                                                      2
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                                            ORDER
 1            The court has reviewed and considered the stipulation of the parties and good cause
 2   appearing IT IS ORDERED that the Hearing for Judgment and Sentencing in this matter currently set
 3
     for October 11, 2016 be continued to October 31, 2016 at the hour of 8:30 AM. The draft PSR will
 4
     be disclosed to the parties on September 26, 2016;informal objections will be provided to the
 5
     probation officer and counsel on or before October 10, 2016, final PSR will be filed CM/ECF on or
 6
     before October 17, 2016, and formal objections will be filed with the Court on or before October 24,
 7
     2016..
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     IT IS SO ORDERED.
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        Dated:      August 25, 2016                          /s/ Lawrence J. O’Neill _____
11                                                  UNITED STATES CHIEF DISTRICT JUDGE
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     PEOPLE v. CHARLOTTE MILLER
     STIPULATION AND [PROPOSED] ORDER CONTINUING DATE FOR JUSGEMENT AND SENTENCING
     CASE NO.: 1:14-CR-00103-LJO-SKO                                                                     3
